





THIS OPINION HAS NO
  PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED ON AS PRECEDENT IN ANY
  PROCEEDING EXCEPT AS PROVIDED BY RULE 239(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals

	
		
			
				The State, Respondent,
				v.
				Walter
      Demetrius Brown aka Walter Parker, Appellant.
			
		
	


Appeal From Charleston County
&nbsp; Deadra L. Jefferson, Circuit Court Judge
Unpublished Opinion No. 2008-UP-160
Submitted March 3, 2008  Filed March 12,
  2008
APPEAL DISMISSED


	
		
			
				Appellate Defender Eleanor Duffy Cleary, South Carolina Commission
  of Indigent Defense, Division of Appellate Defense, of Columbia, for Appellant.
				Attorney General Henry Dargan McMaster, Chief Deputy Attorney
  General John W. McIntosh, and Assistant Deputy Attorney General Salley W.
  Elliott, all of Columbia; and Solicitor Ralph E. Hoisington, of Charleston, for
  Respondent.
			
		
	

PER CURIAM: Walter
  Demetrius Brown appeals his guilty plea
  for shoplifting, maintaining the trial court erred by accepting his plea without
  an affirmative showing it was intelligently and voluntarily entered.&nbsp; After a thorough review of the record and counsels
  brief pursuant to Anders v. California, 386 U.S. 738 (1967), and State
    v. Williams, 305 S.C. 116, 406 S.E.2d 357 (1991), we dismiss[1] Browns appeal and grant counsels motion to be relieved. 
 
APPEAL
  DISMISSED.
ANDERSON, SHORT,
  and THOMAS, JJ., concur.


[1] We decide this case without oral argument pursuant to
  Rule 215, SCACR.

